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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            CASE NO.: 1:05cr39-SPM/AK

IREN CERGIO RAINEY,

           Defendant.
___________________________/

                      ACCEPTANCE OF GUILTY PLEA

       Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, IREN CERGIO RAINEY, to Counts

One, Eight, and Nine of the second superseding indictment is hereby

ACCEPTED. All parties shall appear before this Court for sentencing as

directed.

       DONE AND ORDERED this 3rd day of August, 2006.


                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
